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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
 UNITED STATES OF AMERICA,                       §
                                                 §
        Plaintiff,                               §
                                                 §
 v.                                              §     Case No. 1:21-cv-00796-RP
                                                 §
 THE STATE OF TEXAS,                             §
                                                 §
        Defendant.                               §

                           MOTION TO WITHDRAW
              TEXAS’S MOTION TO CONDUCT EXPEDITED DISCOVERY

       The parties met and conferred concerning discovery on Friday, September 18, 2021.

Following the meet and confer on September 18, 2021, the United States agreed to produce the

documents relied upon or referenced by their declarants but opposed any depositions of their seven

declarants. Based on that opposition, the State of Texas filed its Motion to Conduct Expedited

Discovery on Monday, September 20, 2021. ECF 20. The Court set a hearing on the motion for

Wednesday, September 22, 2021, at 3:00 p.m., and required the United States to file a response to

State’s motion by 12:00 CST on September 22, 2021.

       After receiving the United States’s response, counsel for the State of Texas again reached

out to confirm the United States’s position on depositions, and after fruitful exchanges, the parties

were able to reach an agreement to conduct depositions in advance of next week’s hearing. Because

the parties have reached an agreement on conducting depositions in advance of next week’s

hearing, the State of Texas respectfully moves to withdraw the Motion to Conduct Expedited

Discovery.

                                           CONCLUSION

       Based on the foregoing, the Court should grant the relief requested herein.



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Date: September 24, 2021           Respectfully submitted.

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                                   /s/ Leif A. Olson
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                                   COUNSEL FOR DEFENDANT




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                                 CERTIFICATE OF CONFERENCE

        I certify that on Wednesday, September 22, 2021, counsel for the State of Texas conferred
via electronic mail with counsel for the plaintiff. Counsel for the plaintiff indicated that they do
not oppose the relief requested through this motion.

                                              /s/ Leif A. Olson


                                    CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on September 24, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Leif A. Olson




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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
 UNITED STATES OF AMERICA,                      §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §    Case No. 1:21-cv-00796-RP
                                                §
 THE STATE OF TEXAS,                            §
                                                §
        Defendant.                              §

      ORDER PERMITTING WITHDRAW OF TEXAS’S MOTION TO CONDUCT
                       EXPEDITED DISCOVERY

       Upon consideration of Texas’s Motion to Withdraw Texas’s Motion to Conduct Expedited

Discovery, and the representations made in support thereof, the Court finds as follows:

       Good cause exists to permit Texas’s request to withdraw its motion, and therefore, it is

ORDERED, ADJUDGED, and DECREED, that Texas’s motion is GRANTED.

       Signed on September ____, 2021, at Austin, Texas.




                                             Robert Pitman
                                             United States District Judge
